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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION
  ______________________________________________________________________________

  PHILLIP TRUESDELL and LEGACY                              Civil Action No. 3:19-cv-00066-GFVT
  MEDICAL TRANSPORT, LLC,

         Plaintiffs,

                 v.

  ERIC FRIEDLANDER, in his official capacity
  as Secretary of the Kentucky Cabinet for
  Health and Family Services, et al.,

         Defendants,

  and

  FIRST CARE OHIO, LLC,

         Intervenor-Defendant.



  ______________________________________________________________________________

                     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
                 MOTIONS TO DISMISS SECOND AMENDED COMPLAINT

         Plaintiffs—a family-run ambulance company and its owner—seek to provide safe and

  reliable medical transportation in Kentucky. Though they are fit, willing, and able to operate, they

  have been denied that opportunity by a Kentucky law that requires new businesses to prove they

  are “needed” before operating. In practice, the Kentucky Cabinet for Health and Family Services

  defers to whether existing businesses think a new service is needed. If an existing business protests

  an application, that application is denied (absent extraordinary circumstances). Unprotested

  applications, by contrast, sail through. As this Court has ruled before, such a “Competitor’s Veto”

  is unconstitutional. Bruner v. Zawacki, 997 F. Supp. 2d 691, 700 (E.D. Ky. 2014).




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           Plaintiffs filed this lawsuit two years ago to challenge the Certificate program under the

  Due Process, Equal Protection, and Privileges or Immunities Clauses of the Fourteenth

  Amendment and dormant Commerce Clause of the United States Constitution. Defendants moved

  to dismiss all claims and this Court granted that motion with respect to Plaintiffs’ Fourteenth

  Amendment claims but denied that motion with respect to Plaintiffs’ dormant Commerce Clause

  claims. R. 57. Plaintiffs then moved to amend their complaint to demonstrate that their due process

  and equal protection claims were also plausible. R. 62. This Court granted Plaintiffs’ motion,

  despite Defendants’ claims that doing so would be futile. R. 75. The Court ruled that while it would

  be an uphill battle on the merits, Plaintiffs had at least plausibly alleged that the “need” requirement

  is irrational in violation of due process and equal protection. Id.

           Despite this Court’s statements that the dormant Commerce Clause, equal protection, and

  due process claims may move forward, Defendants and Defendant-Intervenor 1 (a Certificate-

  holding ambulance company) have once again moved to dismiss by making the same claims they

  made in their previous motions to dismiss and in response to Plaintiffs’ motion to amend, requiring

  this response. This Court should deny the motions to dismiss with respect to all claims except for

  the Privileges or Immunities Clause claim, which Plaintiffs seek only to preserve for appeal.

                                    STATEMENT OF THE CASE

           Plaintiff Phillip Truesdell is the owner of Plaintiff Legacy Medical Transport, LLC—a

  family-run business based in an Ohio town near the Kentucky border. R. 63 at ¶ 2. Plaintiffs are

  fully qualified to perform both non-emergency and emergency medical transportation and have

  provided such service in Ohio since 2017. Id. ¶¶ 7, 54. Since starting the company with just one




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      Defendants and Defendant-Intervenor are collectively referred to as “Defendants” throughout.


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  ambulance, Truesdell has grown his business to seven ambulances and now performs between

  1,500 and 2,000 trips per year. Id. ¶¶ 54–55.

         Given their proximity to the Kentucky border and public demand for their services,

  Plaintiffs wish to provide medical transport in Kentucky. Id. ¶¶ 2, 54, 59. Yet Plaintiffs are barred

  from doing so by a law that, in effect, creates a “Competitor’s Veto” over any new businesses. R.

  63 at ¶ 67.

         Before applying for a license to operate, prospective ambulance businesses must first apply

  for a Certificate of Need. Once a person applies for such a Certificate, any existing Certificate-

  holder may protest that application on any basis—including the fact that the applicant would take

  away their business. KRS §§ 216B.040(2)(a)(2), 216B.085. As far as Plaintiffs know, not one

  protest has been filed for reasons related to an applicant’s fitness to operate. Id. ¶ 27. All protests

  have been outright anti-competitive.

         Once a protest is filed, the applicant is required to attend a hearing and prove to the

  Cabinet’s satisfaction that his or her business is “needed.” Id. Certificate of Need hearings

  resemble full-blown litigation. 900 KAR 6:090 § 3(11). Parties—including intervening Certificate-

  holders—may conduct discovery, provide legal briefing, offer evidence, and call witnesses. Id.

  §§ 3(7), 3(11). The financial interests of existing Certificate-holders are the Cabinet’s primary

  consideration when determining whether an applicant’s proposed business is “needed.” R. 63 ¶¶ 5,

  30–31, 37.

         If a Certificate-holder protests, it not only increases the cost of getting a Certificate, it all

  but ensures that the applicant will be unsuccessful. Id. ¶¶ 32–37. In the ten years preceding

  September 2019, the Cabinet decided at least 24 applications to establish a new Class I ground

  ambulance services under its “formal review” procedure. Id. Eighteen of those 24 applications




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  were protested by an existing Certificate-holder. Id. The Cabinet granted all six of the unprotested

  applications. In nine of eighteen protested applications, the protesting businesses subsequently

  withdrew their protest after the applicant agreed to limit the scope of their service. Id. After the

  protests were withdrawn, the Cabinet granted the applications. Id. The Cabinet denied seven of the

  remaining nine protested applications. Id. In only two exceptional cases did the Cabinet grant an

  application over the protests of existing Certificate-holders. Id. 2 And even in those cases, the

  protest caused the applicants to expend significant time and resources proving they would not harm

  the existing providers’ bottom line. Id ¶¶ 30-31.

         Plaintiffs challenge the protest procedures and “need” requirements of the Certificate of

  Need program as unrelated to public health, safety, or any other legitimate government objective.

  They allege that it drives down supply, increases wait times, contributes to unnecessary deaths in

  Kentucky, and decreases the quality of care. Ultimately the Certificate program denies new

  businesses the opportunity to operate solely to protect incumbent providers from competition,

  which is per se illegitimate. C.f. Bruner v. Zawacki, 997 F. Supp. 2d 691, 700 (striking down

  Kentucky’s Certificate program for moving companies because it achieved only illegitimate

  protectionism).

         Even though this Court previously allowed Plaintiffs’ dormant Commerce Clause claims

  to move forward and stated in its ruling on Plaintiffs’ motion to amend that Plaintiffs’ due process

  and equal protection claims were plausible, Defendants have once again moved to dismiss




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    The two applications that were granted over an existing business’s protest were based on
  exceptional facts. For instance, in one case, the protestant had been convicted of Medicare and
  Medicaid fraud and admitted returning an employee to work who had been criminally charged
  with abusing a patient even though the investigation into that incident had not been completed. He
  also admitted he might have to close his doors if sentenced to prison time. In the other, the applicant
  showed that a person had died waiting for an ambulance in Kentucky.


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  Plaintiffs’ dormant Commerce Clause, due process, and equal protection claims for failure to state

  claim under Federal Rule of Civil Procedure 12(b)(6). Defendants’ motions should be denied with

  respect to all claims except Plaintiff’s Privileges or Immunities Claim.

                                      STANDARD OF REVIEW

           On a motion to dismiss, courts must take all facts in the complaint as true, make all

  reasonable inferences in favor of the plaintiffs, and determine whether the complaint states a

  plausible claim for relief. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); see also Courier v. Alcoa

  Wheel & Forged Products, 577 F.3d 625, 629 (6th Cir. 2009). A complaint should not be dismissed

  if it alleges facts that, if taken as true, would “plausibly give rise to an entitlement to relief.” Doe

  v. Baum, 903 F.3d 575, 581 (6th Cir. 2018) (“If it is at all plausible (beyond a wing and a prayer)

  that a plaintiff would succeed if he proved everything in his complaint, the case proceeds.”)

  (emphasis added). The Supreme Court has made clear that this “plausibility standard is not akin to

  a ‘probability requirement.’” Iqbal, 556 U.S. at 678.

           Plaintiffs have plausibly alleged claims under the Due Process and Equal Protection

  Clauses of the Fourteenth Amendment and dormant Commerce Clauses of the U.S. Constitution.

  Defendants’ motions must be denied.

                                              ARGUMENT

      I.      PLAINTIFFS HAVE PLAUSIBLY ALLEGED THAT THE CERTIFICATE
              PROGRAM VIOLATES THE FOURTEENTH AMENDMENT.

           Plaintiffs’ equal protection and due process claims are subject to the rational basis test,

  which, at this stage, requires that plaintiffs plausibly allege that the challenged law is not rationally

  related to any legitimate state interest. In its order granting Plaintiffs’ Motion for Leave to Amend

  the First Amended Complaint, this Court held that Plaintiffs’ allegations “are sufficient to

  constitute a plausible argument that the Certificate of Need law is not rationally related to a



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  legitimate government interest.” R. 75 at 7. The Court stated that “Plaintiffs have provided enough

  facts to negate the conceivable bases proffered by the Government.” Id. (specifically referring to

  Plaintiffs’ allegations that the Certificate program “actually ‘creates shortages, increases wait

  times and costs, decreases the quality of care, and causes deaths.’”). Just as this Court has already

  ruled that Plaintiffs’ allegations are plausible, it should deny the present motions to dismiss on the

  same basis.

         A. The rational basis test allows plaintiffs to prove that a law is not rationally
            related to a legitimate government interest.

         The Constitution protects the right to earn a living free from unreasonable government

  interference. Lowe v. SEC, 472 U.S. 181, 228 (1985). States may not restrict that right unless its

  regulations bear a rational connection to a legitimate government interest. Craigmiles v. Giles, 312

  F.3d 220, 224 (6th Cir. 2002). Moreover, the government may not discriminate between similarly

  situated parties unless its discriminatory treatment bears a rational connection to a legitimate state

  interest. See, e.g., City of Cleburne, Tex. v. Cleburne Living Center, 473 U.S. 432, 440 (1985).

         As the Court acknowledges, this “rational basis” test is deferential, but it is not a judicial

  rubber stamp. R. 75 at 7; see also Peoples Rights Org., Inc. v. City of Columbus, 152 F.3d 522,

  532 (6th Cir. 1998) (“Rational basis review, while deferential, is not ‘toothless.’”). Rather, the test

  creates a presumption of constitutionality that plaintiffs may overcome with evidence

  demonstrating that the legislation lacks any rational connection to a legitimate purpose,

  affirmatively contradicts its purported ends, or serves only illegitimate ends. See Heller v. Doe by

  Doe, 509 U.S. 312, 321 (1993) (“even the standard of rationality as we so often defined it must

  find some footing in the realities of the subject addressed by the legislation”); see also Merrifield

  v. Lockyer, 547 F.3d 978, 991 (9th Cir. 2008) (refusing to uphold licensing legislation with “a

  rationale so weak that it undercuts the principle of non-contradiction”). Where a law bears no



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  connection to public health or safety and instead operates solely to protect established companies

  against new competition, it is an arbitrary deprivation of rights for the benefit of others and fails

  rational basis review. Craigmiles, 312 F.3d at 224 (“[P]rotecting a discrete interest group from

  economic competition is not a legitimate governmental purpose.”)

          Defendants suggest that the “inquiry under the rational basis test is not whether a law in

  fact accomplishes its stated purposes, but whether the legislature could rationally have decided

  that a challenged law might accomplish a legitimate government purpose.” R. 78-1 at 7; see also

  R. 79-1 at 8. But the Supreme Court has explicitly rejected that standard. 3 In U.S. Dep’t of Agric.

  v. Moreno, the Court struck down under rational basis review a law that excluded households of

  unrelated individuals from eligibility in the federal food stamp program. 413 U.S. 528, 529, 532–

  33 (1973). It ruled that even if Congress might “rationally have thought” that “households with

  one or more unrelated members are more likely than ‘fully related’ households” to commit fraud,

  the law still was not a “rational effort to deal with these concerns.” Id. at 535. Thus, even under

  the rational basis test, plaintiffs can prove, through evidence, that there is no rational fit between a

  law and its stated ends. See also Minnesota v. Clover Leaf Creamery Co., 449 U.S. 456, 564 (1981)

  (“[P]arties challenging legislation under the Equal Protection Clause may introduce evidence

  supporting their claim that it is irrational.”); see also United States v. Carolene Prods., 304 U.S.

  144, 152 (1938) (confirming that a law is presumed constitutional “unless, in the light of facts

  made known or generally assumed, it is of such a character as to preclude the assumption that it

  rests upon some rational basis”) (emphasis added).




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   Notably, such a standard would essentially insulate all economic regulations from constitutional
  challenge.


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         Several plaintiffs⸺including plaintiffs in the Supreme Court, Sixth Circuit, and this

  Court⸺have successfully challenged economic regulations where they lack a genuine means-end

  fit in practice or are otherwise irrational. See City of Cleburne, 473 U.S. at 440; Zobel v. Williams,

  457 U.S. 55, 56 (1982); U.S. Dep’t of Agric. v. Moreno, 413 U.S. 528 (1973); New State Ice Co.

  v. Liebmann, 285 U.S. 262 (1932) (striking down CON law); Golden v. City of Columbus, 404

  F.3d 950, 960–63 (6th Cir. 2005) (holding that ending a tenant’s water service “is [not] a rational

  means of collecting the landlord’s water service debt” and is “divorce[d] . . . entirely from the

  reality of legal accountability for the debt involved”); Loesel v. City of Frankenmuth, 692 F.3d

  452, 465–66 (6th Cir. 2012); Berger v. City of Mayfield Heights, 154 F.3d 621 (6th Cir. 1998);

  Craigmiles, 312 F.3d 220; Merrifield, 547 F.3d at 991 n.15 ; St. Joseph Abbey v. Castille, 712 F.3d

  215, 227 (5th Cir. 2013); Bruner, 997 F. Supp. 2d at 699 (invalidating Kentucky’s requirement

  that moving companies demonstrate their services were “needed” before operating).

         As the Court acknowledged in its recent Order, Plaintiffs’ allegations, if true, demonstrate

  that the Kentucky Certificate program is irrational and furthers only the illegitimate end of

  protectionism and the claim should therefore move forward. R. 75 at 7.

         B. Plaintiffs plausibly alleged that the Certificate program’s protest procedure and
            need requirement fail the rational basis standard.

         As determined by this Court (R. 75 at 7), Plaintiffs plausibly alleged that the protest

  procedure and need requirement are not a rational means to achieve any legitimate government

  end. For instance, Plaintiffs have alleged that on its face, the Certificate program has nothing to do

  with a company’s fitness to operate. In fact, it requires the Cabinet to deny even the most qualified

  applicants if they are unable to demonstrate “need.” And the licensing scheme for ambulance

  providers (which is completely separate from the Certificate program and not challenged in this

  case) already ensures an applicant’s fitness.



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         Moreover, Plaintiffs have alleged that the Certificate program results in shortages, longer

  wait times, and even death, and pointed to studies and specific instances bolstering these claims.

  R. 63 at ¶¶ 41–43, 51–52, 88. One study found that consumers in Louisville, Kentucky suffer wait

  times that are 3 minutes and 12 seconds longer than in nearby Nashville, Tennessee, which can be

  critical for emergency transportation. Id. ¶ 42. Another found that states that suspended their

  Certificate programs during the pandemic saved lives. Id. ¶ 44. And Plaintiffs allege that instead

  of making ambulance services more affordable, the Certificate program drives up prices by

  limiting providers to the number considered acceptable by incumbent businesses. Id. ¶¶ 43, 50.

  Plaintiffs have bolstered the plausibility of these allegations with a mountain of research and data

  showing that Certificate laws do not advance their goals and instead harm patients. Id. ¶¶ 40–44,

  53 (citing numerous studies about the effects of Certificate programs, including government

  reports). These allegations, taken as true, show the Certificate program is counterproductive to the

  asserted aims of public health and safety and is therefore irrational. R. 75 at 7; c.f. Bruner, 997 F.

  Supp. 2d at 700 (striking down a moving service Certificate program because its protest and need

  requirements failed to rationally serve the asserted government objectives). Instead, it is an

  unconstitutional “Competitor’s Veto” that allows incumbents to use the force of law to suppress

  competition. Id.

         As this Court has already ruled, Defendants fail to assert any conceivable government

  interests that Plaintiffs have not already plausibly negated with their allegations (see R. 75 at 7),

  or that do not amount to simple protectionism. For example, Defendants assert that the Certificate

  program might improve healthcare quality, increase access, or create a cost-efficient healthcare

  system. R. 78-1 at 5, 6. They also say it ensures that low-reimbursement and charity care patients

  have access to transport. Id. Notably, on its face, the program bears no connection to this goal.




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Allowing incumbents to stave off new competition on bases unrelated to health, safety, access, or

cost-efficiency will not and cannot serve public health, safety, access, or cost-efficiency. And by

definition, restricting market entrants means fewer available services and less access, not more. As

the Fourth Circuit acknowledged, “[r]estricting market entry…necessarily limits the available

services because it limits the number of [providers] from which a [customer] can seek service.”

Medigen of Kentucky, Inc. v. Public Serv. Comm’n of West Virginia, 985 F.2d 164, 167 (4th Cir.

1993). And as the First Circuit recognized, there is no rational reason to believe that a law

prohibiting businesses from opening in one place would encourage them to open in unprofitable

or geographically inconvenient locations. See Walgreen Co. v. Rullan, 405 F.3d 50, 59–60 (1st Cir.

2005) (“The refusal to grant a proposed [service] market entry at its desired location will not

encourage the proposed [service] to relocate to an underserved area…”). Nevertheless, this

argument is inappropriate at the motion to dismiss stage. Plaintiffs’ allegations, which must be

taken as true, state that the Certificate program reduces access to healthcare, decreases efficiency,

increases costs, and lowers its quality. R. 63 at ¶¶ 41–43, 51–52, 88. 4

       Other justifications asserted by Defendants are protectionist on their face. For example,

Defendant-Intervenor suggests that the Certificate program ensures that incumbents have

“sufficient patient volumes” (in other words, the Certificate program creates a monopoly which

artificially inflates incumbents’ customer base) so they can “utilize economies of scale” (that is,

so they can enjoy the increased profits that come from arbitrarily suppressing competition). They



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 For their part, the Cabinet argues that Plaintiffs have not negated single conceivable basis for the
Certificate Program, even though they refuse to articulate what any of these non-negated
conceivable bases are apart from curbing “unnecessary” healthcare. R. 79-1. But Plaintiffs have
alleged that the Certificate program’s curbing of “unnecessary” healthcare services amounts to an
illegitimate Competitor’s Veto whereby incumbent businesses are empowered to decide what
services are “unnecessary.” R. 63 at ¶¶ 6, 30, 61, 82–83, 89, 99–100. They have therefore plausibly
negated such a rationale.


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speculate that Certificate-holders might eventually use these excess profits to invest in staff

training and new equipment or lower their prices. R. 78-1 at 5. But this is exactly the sort of

illegitimate protectionism that Plaintiffs allege in their complaint. R. 63 at ¶¶ 6, 30, 61, 82–83, 89,

99–100.

       Moreover, Defendants’ arguments defy common sense. There is no reason to believe that

a Competitor’s Veto scheme leads to greater efficiency or benevolent behavior, or that reducing

competition will improve quality or reduce prices. See Medigen, 985 F.2d at 167 (“Restricting

market entry does nothing to insure that services are provided at reasonable prices…higher rather

than lower prices will more likely result from limiting competition.”); see also Bruner, 997 F.

Supp. 2d at 700 (“To the extent that the protest and hearing procedure prevents excess entry into

the moving business, it does so solely by protecting existing…companies…against potential

competition.”) (emphasis added). And in fact, Plaintiffs have included studies bolstering their well-

pleaded allegations that firms do not improve quality or reduce prices in the absence of competition.

Defendants’ asserted interest in a monopoly would justify any protectionist scheme, including the

ones rejected in Craigmiles and Bruner. But as this Circuit and several others have held, economic

protectionism is not a legitimate state interest. See, e.g., Craigmiles, 312 F.3d at 229.

       Plaintiffs believe, and in its recent Order, this Court agreed, that Bruner is “persuasive.” R.

75 at 6. In Bruner, this Court held that a Certificate program for household moving companies

failed the rational basis test and violated the Fourteenth Amendment. Id. at 700–01. As in this case,

to obtain a Certificate, applicants had to comply with a protest procedure where they were forced

to prove “need” and where incumbent businesses could block incoming competitors on any

grounds—including on the basis that new businesses would impact the protestant’s revenue. Id.

The government posited a number of justifications such as protecting personal property, reducing




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administrative costs, decreasing information asymmetry, and preventing “excess entry” into the

industry. Id. at 700. The plaintiff was not only able to defeat a motion to dismiss but was also able

to prove on the merits that the Certificate program did not achieve any of its purported purposes

and was instead protectionist. Id.

        Defendants assert that Bruner “bear[s] no resemblance to this case,” R. 79-1 at 9; see also

R. 78-1 at 10, but the regulatory scheme challenged in Bruner is nearly identical to the one

challenged here. 5 And, as in Bruner, Plaintiffs’ allegations negate all conceivable government

justifications and leave no legitimate reasons for the Certificate program. R. 75 at 7. Plaintiffs have

alleged that allowing incumbent businesses to effectively veto new competition on bases unrelated

to health and safety will not lead to optimal supply, lower prices, or efficient allocation of services.

Instead, it will cause shortages, increase costs, and create deadly wait times. See Craigmiles, 312

F.3d at 229 (“No sophisticated economic analysis is required to see the pretextual nature of the

state’s proffered explanations…); See also R. 63 ¶¶ 41–43, 51–52, 88. This reality is reinforced by

numerous studies and allegations in Plaintiffs’ Complaint. Id. ¶¶ 40–44. Allowing existing moving

or medical transport companies to protest the issuance of a Certificate in order to preserve their

market share against potential competition is pure, illegitimate protectionism. See id. ¶ 46; Bruner,

997 F. Supp. 2d at 700–01; see also Craigmiles, 312 F.3d at 229 (recognizing the “General

Assembly’s naked attempt to raise a fortress protecting the monopoly rents that funeral directors

extract from consumers.”)




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  Defendants lean heavily on Tiwari et al. v. Friedlander et al., 2021 WL 1407953 (W.D. Ky.
2021)—a Certificate of Need challenge that survived a motion to dismiss but failed at summary
judgment. Plaintiffs believe that Bruner provides a better analogy, both because the Certificate
program in Bruner is more similar to the challenged program in this case and the opinion was
issued in this Court, and because Tiwari, which is on appeal to the Sixth Circuit, incorrectly states
the rational basis test.


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         At this stage, Plaintiffs need only present facts which, if taken as true, plausibly allege due

process and equal protection violations. Here, Plaintiffs have pleaded allegations that state

plausible claims for relief; thus, Defendants’ motions to dismiss must fail. See Tiwari v.

Friedlander, No. 3:19-cv-884-JRW-CHL, 2020 WL 4745772 (W.D. Ky. Aug. 14, 2020) (denying

motion to dismiss due process challenge to law requiring home healthcare businesses to

demonstrate “need”); Bruner v. Zawacki, No. 3:12-57-DCR, 2013 WL 684177 (E.D. Ky. Feb. 25,

2013) (denying motion to dismiss due process and equal protection challenge to law that required

movers to demonstrate “need”); Newell-Davis et al. v. Phillips et al., No. 21-49, 2021 WL 3286591

at *9 (E.D. La. August 2, 2021) (denying motion to dismiss due process and equal protection

challenge to law that requires providers of respite care to prove “need” before delivering services);

St. Joseph Abbey v. Castille, No. 10-2717, 2011 WL 1361425 at *9 (E.D. La. Apr. 8, 2011)

(denying motion to dismiss due process and equal protection claims challenging license

requirement for casket sales).

   II.      PLAINTIFFS HAVE PLAUSIBLY ALLEGED THAT THE CERTIFICATE OF
            NEED PROGRAM VIOLATES THE INTERSTATE COMMERCE CLAUSE.

         On August 31, 2020, this Court issued an opinion denying the very arguments Defendants

now assert require dismissal of Plaintiffs’ Interstate Commerce Clause claim. R. 57 at 1, 11.

Nothing has changed between then and now and Defendants’ arguments must once again be denied.

         A. The Certificate program unduly burdens interstate commerce.

         Congress’s authority to regulate interstate commerce has “long been understood [] to

provide protection from state legislation inimical to the national commerce…” Barclays Bank PLC

v. Franchise Tax Bd., 512 U.S. 298, 310 (1994). There are two types of claims arising under this

“dormant” aspect of the Commerce Clause: claims that 1) a law discriminates against out-of-state

commerce on its face or in practical effect, or 2) that a law imposes an “undue burden” on interstate



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commerce. Pike v. Bruce Church, Inc., 397 U.S. 137, 142 (1970). Plaintiffs allege a violation the

second type of claim.

       Under Pike, laws that are applied evenhandedly to local and interstate commerce are

unconstitutional if they are clearly excessive in relation to the putative local benefits. Department

of Revenue of Kentucky v. Davis, 553 U.S. 328, 338–39 (2008); see also Eastern Ky. Resources v.

Fiscal Court, 127 F.3d 532, 540 (6th Cir. 1997). As this Court acknowledges, Pike requires a fact-

intensive inquiry that “counsels against a premature dismissal.” R. 57 at 10 quoting Colon Health

Ctrs. of Am., 733 F.3d 535, 546 (4th Cir. 2013); see also Baude v. Health, 538 F.3d 608, 612 (7th

Cir. 2008) (“It is impossible to tell whether a burden on interstate commerce is clearly excessive

in relation to the putative local benefits without understanding the magnitude of both burdens and

benefits…”).

       Plaintiffs allege that the protest procedure and need requirement violate the Pike balancing

test because the burden on interstate commerce outweighs the law’s putative local benefits.

Specifically, Plaintiffs allege that the law has two burdens on interstate commerce: first, it unduly

burdens out-of-state providers who wish to provide transportation in Kentucky, and second, it

unduly burdens all providers who wish to provide transportation between Kentucky and other

states. 6 R. 63 at ¶ 78–80; see also, Lewis v. BT Inv. Managers, Inc., 447 U.S. 27, 37 (2009) (holding

that Courts should focus on the “probable effect” of a law on interstate commerce). Those burdens

are significant because the protest procedure substantially drives up the cost of applying for a

Certificate and protested applications are almost always denied on the grounds that there is no

“need” for competing services. Id. at ¶ 35–37. Finally, those burdens are not justified by any



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 This extraterritorial effect alone may be enough to invalidate the law, because laws that regulate
extraterritorial commerce are “virtually per se invalid under the dormant Commerce Clause.” Am.
Beverage Ass’n v. Snyder, 735 F.3d 362, 373 (6th Cir. 2013).


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putative local benefit because they do not protect public health or safety and instead serve to protect

incumbent businesses from competition. In fact, the resulting shortage of emergency ground

transportation services has proved lethal to the people who have “died waiting for an ambulance.”

R. 63 at ¶ 41. Plaintiffs in other cases have repeatedly succeeded on the merits making similar

Interstate Commerce Clause challenges to Certificate of Need programs. See, e.g., Medigen of

Kentucky, Inc. v. Public Serv. Comm’n of West Virginia, 985 F.2d 164, 167 (4th Cir. 1993);

Yamaha Motor Corp., U.S.A. v. Jim’s Motorcycle, Inc., 401 F.3d 560, 573 (4th Cir. 2005);

Walgreen Co. v. Rullan, 405 F.3d 50, 59 (1st Cir. 2005); cf. New State Ice Co. v. Liebmann, 285

U.S. 262, 274 (1932) (due process challenge to Certificate of Need law).

        Defendants once again make the exact arguments this Court previously rejected. For

example, they contend that Plaintiffs do not allege a significant impact on the interstate ambulance

market. 7 R. 78-1 at 14; see also R. 79-1 at 12. But, as this Court previously recognized, that is

simply false. R. 57 at 10. Plaintiffs explicitly allege that by requiring companies to obtain a

Certificate before providing ground ambulance transportation within Kentucky, the law drastically

reduces the number of providers and drives up the cost of operating, thereby burdening the


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 Once again, Defendants’ reliance on Exxon Corp. v. Governor of Maryland, 437 U.S. 117 (1978),
a dormant Commerce Clause case decided on the merits and with the benefit of discovery, is
misplaced. In Exxon, an oil refiner argued that a Maryland law prohibiting oil producers or refiners
from operating retail service stations unduly burdened interstate commerce because at least three
refiners indicated they would stop selling oil in Maryland. After considering the evidence obtained
during discovery, the Supreme Court ruled that though the law burdened a particular business
model, it was likely that the interstate market would still thrive because other out-of-state
companies, with a different business model, would continue to operate in Maryland and would
thus perpetuate a robust interstate market in oil. That is not the case here. Kentucky’s Certificate
of Need program does not merely shift operations from one business model to another, or from
one interstate provider to another. Plaintiffs allege that the law shuts out nearly every out-of-state
provider that applies. And even when companies have been able to secure a Certificate despite a
protest, it has only been after either narrowing the scope of their territory or submitting to the
expensive and onerous hearing procedure.



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interstate market for these services. R. 63 ¶ 78–81. Moreover, the program reduces the number of

providers who provide transportation between Kentucky and other states, thereby directly

burdening interstate commerce. R. 63 at ¶¶ 78–81.

        B. The Certificate program serves no legitimate government purpose.

        Plaintiffs allege that the Certificate program provides no putative local benefits. R. 63 at

¶¶ 69, 81–82. Only incumbent businesses, not members of the public, take advantage of the protest

procedure and they do so solely for the purpose of staving off new competition. Id. ¶¶ 22–23, 26.

The program therefore results in a Competitor’s Veto that excludes otherwise qualified applicants

to the detriment of Kentucky consumers. Id. ¶¶ 42–45. Protecting the profits of entrenched

Certificate-holders at the expense of public health is not a legitimate local interest. Craigmiles,

312 F.3d at 229; City of Philadelphia v. N.J., 437 U.S. 617, 624 (1978) (“Where simple economic

protectionism is effected by state legislation, a virtually per se rule of invalidity has been erected.”).

        Any interests the Defendants assert are negated by Plaintiffs’ well-pleaded allegations. R.

57 at 7. As discussed in Part I(B) above, the purported local benefits of the Certificate program are

either illogical speculation that is contradicted by the allegations in Plaintiffs’ Complaint or

undisguised protectionism. Plaintiffs’ allegations show that the Certificate program results in

worse health outcomes for Kentucky patients and is designed to protect existing business from

competition. R. 57 at 9; see also Medigen, 985 F.2d at 167 (explaining in the context of a

Certificate program that purely “speculative” benefits on behalf of the government will not suffice).

But even if a legitimate local purpose is ultimately revealed, the “extent of the burden that will be

tolerated will…depend on the nature of the local interest involved…and whether it could be

promoted as well with a lesser impact on interstate activities.” R. 57 at 10 (quoting Pike, 397 U.S.

at 142). This naturally fact-intensive balance is why the Court declined to “forecast what further




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investigation may demonstrate.” R. 57 at 10 (quoting Colon Health Ctrs, 733 F.3d at 546). It

should do so again here.

       As this Court has previously ruled, Plaintiffs’ allegations state a plausible claim that the

Certificate program unduly burdens interstate commerce without providing any legitimate local

benefits. That is all that is required to defeat a 12(b)(6) motion to dismiss. For that reason, this

Court should deny Defendants’ motions.

       Dated: September 28, 2021.

                                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        This is to certify that a true and accurate copies of the foregoing was served by electronic
service through the Court’s CM/ECF system on September 28, 2021, upon the following:

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